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                                  No. 23-1654
                            ________________________
                  UNITED STATES COURT OF APPEALS
                     FOR THE SEVENTH CIRCUIT
                        ________________________

              CONSUMER FINANCIAL PROTECTION BUREAU,
                                Plaintiff-Appellant,
                                         v.
          TOWNSTONE FINANCIAL, INC. AND BARRY STURNER,
                              Defendants-Appellees.
                        _______________________________
                 On Appeal from the United States District Court
              for the Northern District of Illinois, Eastern Division,
                             Case No. 1:20-cv-04176
                     The Honorable Franklin U. Valderrama
                        _______________________________
               BRIEF OF THE DEFENDANTS-APPELLEES
                     _______________________________


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                  CORPORATE DISCLOSURE STATEMENTS
      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

Townstone and its attorneys make the following disclosures:

      PACIFIC LEGAL FOUNDATION, a nonprofit corporation organized under the

laws of California, hereby states that it has no parent companies, subsidiaries, or

affiliates that have issued shares to the public.




DATED: August 14, 2023.


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                        JURISDICTIONAL STATEMENT

      Appellant’s jurisdictional statement is complete and correct.

                          STATEMENT OF THE ISSUE

      Did the District Court correctly hold that Equal Credit Opportunity Act does

not prohibit the discouragement of prospective applicants on a prohibited basis?

                          STATEMENT OF THE CASE

      Founded by Barry Sturner in 2002, Townstone Financial, Inc. was, at all times

relevant to the complaint, a small, non-bank mortgage lender or broker with its sole

office in Chicago. Amended Complaint ¶¶ 4, 9, 13; ECF 27, CFPB v. Townstone,

20-cv-4176 (N.D. Ill.); ECF 89-7 at ¶ 1. Today, it is a mortgage broker. Townstone

markets its services almost entirely through radio advertisements and the Townstone

Financial Show, a weekly one-hour talk radio show that was broadcast on AM radio

throughout the entire Chicago area between 2013 and 2018. Episodes were also

available on the internet. Amend. Compl. ¶29. Today, it is exclusively a podcast.

      CFPB filed this action in 2020, following a three-year investigation in which

Townstone produced approximately 100 GB of information, answered interrogatories,

and produced several employees, including Barry Sturner, for sworn testimony. ECF

1; ECF 67 at 2. During its investigation, CFPB referred this matter to the

Department of Justice pursuant to the Equal Credit Opportunity Act. (“ECOA”)




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15 U.S.C. §1691e(g). In April 2020, DOJ informed Townstone’s counsel that it had

decided not to pursue the matter and that its investigation was closed. A040. 1

       Townstone moved to dismiss the amended complaint on February 8, 2021,

pointing out that CFPB alleged nothing that shows Townstone violated ECOA. ECF

31–32. Nothing in the complaint alleges that Townstone discriminated against

anyone, applicant or otherwise. Nor does the complaint allege that anyone—

“prospective    applicant”    or   otherwise—was        dismayed,     dejected,    dispirited,

discouraged, or even bothered by anything Townstone ever said on its show. And

CFPB did not allege that it knows of anyone, nor did it identify anyone in discovery,

who was “discouraged on a prohibited basis” from seeking credit because of

Townstone’s comments. ECF 105 at 2 (Obj. Mag. Ord.); citing ECF 89-1 (Defs’. Mot.

to Compel Ex. A, CFPB Resp. to Interrogatory No. 2); ECF 89-2 (Ex. B, Aug. 23, 2022

Ltr. from Defs. to Plaintiff).

       Townstone also pointed out in its motion that CFPB mischaracterized

Townstone’s comments and took them out of context. ECF 32 at 2 3. That CFPB has

excerpted only small portions of the comments and characterized them in its own self-

serving manner is obvious from the complaint. Am. Compl. ¶¶ 33 37. It is also

obvious that the comments represented a tiny portion of the shows in which they were

made, id., and that all of the comments combined represent a tiny portion the total

broadcast time during the years in which the weekly, one-hour show was aired, ECF



1 This brief cites to the Short Appendices using the format “A__.” This Court should take

judicial notice of the DOJ no-action letter. See Opoka v. I.N.S., 94 F.3d 392, 394–96 (7th Cir.
1996).
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32 at 2. CFPB’s entire case is thus based on a handful of innocuous comments, none

of which had anything to do with race and none of which indicated an intent not to

do business with anyone. See Am. Compl. ¶¶ 38 39. 2

       The district court dismissed CFPB’s complaint on February 3, 2023, ECF 110,

after the parties had engaged in over nine months of discovery. See ECF 56.

                             SUMMARY OF ARGUMENT

       ECOA makes it “unlawful for any creditor to discriminate against any

applicant, with respect to any aspect of a credit transaction” on the basis of race, sex,

and other prohibited bases. 15 U.S.C. § 1691(a). Regulation B’s anti-discouragement

rule purports to expand liability under ECOA and make it unlawful for a creditor to

“make any oral or written statement in advertising or otherwise, to applicants or

prospective applicants that would discourage on a prohibited basis a reasonable

person from making or pursuing an application.” 12 C.F.R. § 1002.4(b). The question

in this case is whether CFPB can effect such a radical expansion of the core liability

provision in ECOA.

       The District Court’s answer was: “No.” That conclusion was correct, for

“applicant” and the other terms in section 1691(a) are unambiguous. Taken together,

those terms prohibit discrimination against someone who has made a request for

credit from a creditor. Only in that context can the requester be considered an


2 The shows cited in the complaint are publicly available, in full, here: (Show mentioned in

Am. Compl. ¶ 33) https://www.youtube.com/watch?v=L4Z89D3An8c;
https://www.youtube.com/watch?v=-tmGkuqZhN0 (Am. Compl. at ¶ 34);
https://www.youtube.com/watch?v=osTkpE46QzQ (Am. Compl. at ¶ 35);
https://www.youtube.com/watch?v=EtsgCPObDm4 (Am. Compl. at ¶ 36);
https://www.youtube.com/watch?v=Zx36GwTPySY (Am. Compl. at ¶ 37).
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“applicant” and the interaction between that person and the creditor be described as

part of a “credit transaction.”

      The anti-discouragement rule flips this structure on its head. Section 1691(a)

bases liability on the actions of a creditor—i.e., treating an applicant differently from

others based on the applicant’s race, sex, etc. The rule, by contrast, bases liability on

the subjective reaction of a listener to the creditor’s speech. Discrimination can be

proved with facts. “Discouragement” turns on feelings. Nothing in the rule requires

that the creditor’s speech be connected to race or convey an intention not to do

business with anyone. And it is up to the creditor to figure out what it means for

someone to be “discourage[ed] on a prohibited basis.” Most significantly, the relevant

listener need not be an applicant, or have any connection with the creditor, or even

be a known individual. A creditor can violate the rule by making any statement that

a “prospective”—i.e., future—“applicant” might hear that “would discourage a

reasonable person on a prohibited basis” from seeking credit.

      As this case shows, creditors can be liable under the rule simply for talking

about crime in a particular area as long as a “prospective applicant” might hear them.

CFPB claims that Townstone “disparaged” people from minority communities. That

is false, but even if it were true, the rule does not prohibit “disparagement” of anyone.

It requires only that they be “discouraged” from seeking credit.

      In defending the rule, CFPB does not even attempt to show that it is consistent

with section 1691(a) or that 1691(a) is ambiguous. Instead, CFPB argues, (1) that

ECOA’s rulemaking delegation in 1691b(a) authorized the implementing agencies to



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amend ECOA in order to serve the purposes of the statute and prevent circumvention;

and, (2) that Congress tacitly endorsed the anti-discouragement rule in section

1691e(g), by directing agencies to refer matters to the Attorney General that they

believe involve patterns and practices of “discouraging or denying applications for

credit in violation of section 1691(a).”

      The first argument runs head long into Chevron, which requires that Congress

leave a gap for an agency to fill. Congress does so either by expressly directing an

agency to fill a specific gap in a law or by leaving terms ambiguous. Section 1691b(a),

however, is simply a general grant of rulemaking authority. Such a grant is necessary

for an agency to have any power to issue rules, but, standing alone, it does not even

get an agency to Chevron step two. And because section 1691(a) is unambiguous, the

District Court was correct to end its analysis at Chevron step one.

      CFPB’s second argument fails because section 1691e(g) makes clear that,

whatever “discouraging and denying applications” means, it must qualify as a

violation of 1691(a). As noted, the anti-discouragement rule sweeps far more broadly

than section 1691(a) allows. Rejecting someone who requests credit because of their

race, however, is a violation of 1691(a). One could call such a rejection

“discouragement”—and that is a sensibly broad term to use in a section whose

purpose is to direct an agency to refer suspected violations to DOJ—but it would also

be discrimination in violation of section 1691(a). Again, “applicant” means one who

requests credit. It does not refer to hypothetical persons who imagine one day

requesting credit. Reading 1691e(g) to refer to things that actually violate section



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1691(a) comports with the language of ECOA and is consistent with the legislative

history. It also addresses the hypothetical “White Applicants Only” sign, as such a

sign would announce a practice of violating section 1691(a). Any creditor who

displayed such a sign would, and should, face an immediate investigation by CFPB

and DOJ.

      This case should therefore end at Chevron step one. But CFPB even loses at

step two, because the anti-discouragement rule is not a permissible interpretation of

ECOA. Indeed, it is not an interpretation of ECOA at all; it is a rewrite. It is also a

blatant First Amendment violation, meaning deference would run afoul of the

constitutional avoidance canon.

      Indeed, if there were ever any doubts about the federal government’s authority

to outlaw statements such as “the South Side is a war zone,” the Supreme Court just

put them to rest in 303 Creative LLC v. Elenis, 143 S.Ct. 2298 (2023). There, the

Court held that Colorado may not enforce an anti-discrimination law to compel a web

designer to say things to which she objected. Id. at 2309–10, 2321–22. As the Court

explained, “the First Amendment protects an individual’s right to speak his mind

regardless of whether the government considers his speech sensible and well

intentioned or deeply misguided and likely to cause anguish or incalculable grief.” Id.

at 2311–12 (cleaned up). 303 Creative explodes every conceivable defense CFPB could

have to Townstone’s First Amendment arguments and makes crystal clear—if it were

ever unclear—that this case should never have been brought.




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                              STANDARD OF REVIEW

      This Court reviews a district court’s grant of a motion to dismiss de novo.

Roberts v. City of Chicago, 817 F.3d 561, 564 (7th Cir. 2016). While agencies are

entitled to deference in appropriate circumstances, Brumfield v. City of Chicago,

735 F.3d 619, 626 (7th Cir. 2013), “[t]he judiciary is the final authority on issues of

statutory construction and must reject administrative constructions which are

contrary to clear congressional intent.” Chevron, U.S.A., Inc. v. Nat. Res. Def. Council,

Inc., 467 U.S. 837, 843 n.9 (1984). And, of course, “[i]t is emphatically the province

and duty of the judicial department to say what the law is.” Marbury v. Madison,

5 U.S. 137, 177 (1803). Finally, this Court “may affirm [the district court] on any basis

that appears in the record[,]” See Valencia v. City of Springfield, Ill., 883 F.3d 959,

967 (7th Cir. 2018), including issues the “district court did not explicitly consider[,]”

Huston v. Hearst Commc’ns, Inc., 53 F.4th 1097, 1100 (7th Cir. 2022).

                                     ARGUMENT

I.    Regulation B’s anti-discouragement rule conflicts with the plain
      terms of ECOA and deserves no deference at Chevron step one.

      “No matter how it is framed, the question a court faces when confronted with

an agency’s interpretation of a statute it administers is always, simply, whether the

agency has stayed within the bounds of its statutory authority.” City of Arlington, Tex.

v. F.C.C., 569 U.S. 290, 97 (2013) (emphasis in original). This follows from the broader

principle that “[a]n agency … ‘literally has no power to act’ … unless and until

Congress authorizes it to do so by statute.” FEC v. Cruz, 142 S.Ct. 1638, 1649 (2022)

(quoting Louisiana Pub. Serv. Comm’n v. F.C.C., 476 U.S. 355, 374 (1986)).


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      Here, the District Court correctly held that the anti-discouragement rule

cannot be squared with ECOA’s unambiguous terms. A011. ECOA makes it “unlawful

for any creditor to discriminate against any applicant, with respect to any aspect of a

credit transaction” on the basis of race, sex, and other prohibited bases. 15 U.S.C.

§ 1691(a) (emphasis added). Regulation B’s anti-discouragement rule, by contrast,

makes it unlawful for a creditor to “make any oral or written statement in advertising

or otherwise, to applicants or prospective applicants that would discourage on a

prohibited basis a reasonable person from making or pursuing an application.”

12 C.F.R. § 1002.4(b) (emphasis added). Because “applicant” is not ambiguous and

may not be stretched to include “prospective applicant,” the District Court concluded

that, under Chevron, “that is the end of the matter; for the court, as well as the

agency, must give effect to the unambiguously expressed intent of Congress.”

467 U.S. at 842 43. A011.

      The District Court was correct. As this Court has recognized, “there is nothing

ambiguous about ‘applicant’” in ECOA. Moran Foods, Inc. v. Mid-Atl. Mkt. Dev. Co.,

LLC, 476 F.3d 436, 441 (7th Cir. 2007). Other courts have recognized the same thing.

See Regions Bank v. Legal Outsource PA, 936 F.3d 1184, 1190 91 (11th Cir. 2019)

(holding that “applicant” in ECOA unambiguously excludes “guarantors”); Hawkins

v. Cmty. Bank of Raymore, 761 F.3d 937, 941 (8th Cir. 2014) (same). Congress has

therefore spoken to the precise issue at hand and the result is clear: the anti-

discouragement rule is invalid.




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      CFPB all but ignores the clear terms of section 1691(a), and argues instead

that the precise issue at hand is whether Congress’s delegation in section 1691b(a) to

make rules that are “necessary or proper” to, among other things, “prevent

circumvention or evasion” of ECOA is broad enough to cover Regulation B’s anti-

discouragement rule. CFPB Br. at 17 18, 20. Relying on Mourning v. Fam. Publ’ns

Serv., Inc., 411 U.S. 356 (1973), CFPB claims that the rule is valid because it is

reasonably related to preventing circumvention of ECOA. CFPB Br. at 20 21.

      But CFPB badly misunderstands the analysis under Chevron. While a

delegation of rulemaking authority is necessary for an agency to receive deference

under Chevron, it is not sufficient. See Brumfield, 735 F.3d at 625–26 (stating that a

regulation can qualify for Chevron deference only where “Congress has authorized

the agency to interpret the statute through rules carrying the force of law”). Such a

delegation gets the agency’s foot in the door, but, standing alone, it does not entitle a

rule to deference, as “‘[a]n agency’s general rulemaking authority does not mean that

the specific rule the agency promulgates is a valid exercise of that authority.’” NY

Stock Exch. LLC v. SEC, 962 F.3d 541, 546 (D.C. Cir. 2020) (cleaned up).

      To qualify for deference the agency must satisfy Chevron’s familiar two-step

inquiry. First, it must show that Congress left a gap to fill. Chevron, 467 U.S. at 842.

That gap can be explicit—for example, where Congress delegates to the agency the

power to define statutory terms. See, e.g., Rush Univ. Med. Ct. v. Burwell, 763 F.3d

754, 760 (7th Cir. 2014) (“When a statute specifically authorizes an agency to define

a term, there is no need to consider whether the term is ambiguous and thus left to



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agency delegation.”). Or, the gap can be implicit, which happens when a statutory

term is ambiguous. See Brumfield, 735 F.3d at 626. But in either event, a general

grant of rulemaking authority does not answer the question whether Congress has

spoken to the precise issue at hand. See City of Arlington, 569 U.S. at 306 (“[F]or

Chevron deference to apply, the agency must have received congressional authority

to determine the particular matter at issue in the particular manner adopted.”).

      Mourning changes nothing. As the D.C. Circuit has noted, Mourning “was

decided decades ago, before the Supreme Court issued Chevron … changing the

framework for judicial review of agency action. And Mourning has been effectively

diluted by later cases.” NY Stock Exch., 962 F.3d. at 546 (citing Ragsdale v. Wolverine

World Wide, Inc., 535 U.S. 81, 92 (2002)). Simply put, Chevron is the framework for

analyzing agency interpretations of statutes, and Chevron requires both a delegation

of rulemaking authority and a showing that Congress left a statutory gap for the

agency to fill. Because Congress left no gap or ambiguity in ECOA that would

accommodate the anti-discouragement provision, the District Court correctly held

that the rule fails at Chevron step one.

      But even if this Court were to conclude that Congress did not speak to the

precise issue at hand, CFPB still loses at Chevron step two because the rule is not a

permissible interpretation of ECOA. Among other things, it has no limiting principle,

and it creates more problems—statutory and constitutional—than it resolves.

Regulation B’s anti-discouragement rule is not an interpretation of ECOA—it is a

total rewrite. Deferring here would allow the CFPB to use its own “judgment” as “a



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roving license to ignore the statutory text.” Massachusetts v. EPA, 549 U.S. 497, 533

(2007). But agencies must exercise “discretion within defined statutory limits.” Id.;

see also Michigan v. EPA, 576 U.S. 743, 751–52 (2015) (declining to defer to EPA

interpretation where agency failed to comply with statutory terms).

      A.     ECOA unambiguously bars discrimination only against
             applicants with respect to any aspect of a credit transaction.

      Chevron step one is a straightforward matter of statutory interpretation. The

question is whether, after “employing traditional tools of statutory construction,’’ a

court is “unable to discern Congress’s meaning.” SAS Inst., Inc. v. Iancu, 138 S.Ct.

1348, 1358 (2018) (quoting Chevron, 467 U.S. at 843 n.9). The “starting point in cases

involving statutory construction is the language employed by Congress and the

assumption that the ordinary meaning of that language accurately expresses the

legislative purpose.” Commodity Futures Trading Comm’n v. Worth Bullion Grp.,

Inc., 717 F.3d 545, 550 (7th Cir. 2013) (cleaned up). Importantly, a reviewing court

does “not start from the premise that [the statutory] language is imprecise.” United

States v. LaBonte, 520 U.S. 751, 757 (1997). Instead, the court should “assume that

in drafting this legislation, Congress said what it meant.” Id. In short, a court must

“empty” its “legal toolkit” to ensure that a statute is “genuinely ambiguous” before

moving to Chevron step two. Kisor v. Wilkie, 139 S.Ct. 2400, 2415 (2019).

      As the District Court recognized, the logical starting point in determining

whether Congress spoke to the precise issue at hand is ECOA’s “Scope of Prohibition”

section, 15 U.S.C. § 1691. A010. As the title implies, that section establishes ECOA’s




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core prohibition in subsection (a), “Acts constituting discrimination.” That subsection

states in full:

       It shall be unlawful for any creditor to discriminate against any
       applicant, with respect to any aspect of a credit transaction--
       (1) on the basis of race, color, religion, national origin, sex or marital
       status, or age (provided the applicant has the capacity to contract);
       (2) because all or part of the applicant's income derives from any public
       assistance program; or
       (3) because the applicant has in good faith exercised any right under this
       chapter.

15 U.S.C. § 1691(a). The remaining sections of ECOA all supplement section 1691,

covering definitions (1691a), promulgation of regulations by the Bureau (1691b),

administrative enforcement (1691c), incentives for self-testing and correction

(1691c-1), small business loan data collection (1691c-2), applicability to other laws

(1691d), civil liability (1691e), and annual reports to Congress (1691f). Section 1691

is thus the logical place to look to determine what Congress intended ECOA to

prohibit.

       Three things about section 1691 are immediately apparent. First, the entire

section focuses on interactions between applicants and creditors in the context of a

credit transaction. As the District Court noted, ECOA uses “applicant” twenty-six

times. A016. “Indeed, the entire statutory scheme revolves around applicants.” A015.

Nowhere does section 1691 or the rest of ECOA mention “prospective applicants” or

address individuals who have merely been exposed to a creditor’s advertising.

       Second, section 1691 is specific, and its scope is comprehensive. It begins by

establishing, in specific terms, the types of discrimination ECOA prohibits. Included

is not just discrimination against individuals based on race, sex, religion, and the


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like, but also discrimination based on participation in a public assistance program.

See 15 U.S.C. § 1691(a)(2). It then lists acts not constituting discrimination, again in

specific terms. See id. § 1691(b) and (c). Subsection (d) then covers in detail the actions

a creditor must take when it rejects an application, including the time within which

the creditor must make a decision and the information to which an applicant is

entitled concerning the reasons for the rejection. It would be strange for this section

to list specifically what is and is not prohibited under ECOA and to describe in detail

what a creditor must do if it rejects an application, if Congress had intended to allow

the agencies to prohibit much more than discrimination against applicants. See

RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 132 S.Ct. 2065, 2070–71 (2012)

(noting that when Congress has enacted a “comprehensive scheme” that targets

“specific problems with specific solutions,” that scheme will govern over more general

statutory language) (internal quotation marks omitted). Accord Brumfield, 735 F.3d

at 628 29.

      Third, section 1691 shows that Congress knew how to leave gaps for the

implementing agencies to fill. For example, subsection (b)(2) states that it is not

discrimination for a creditor to inquire about an applicant’s age, among other things,

if such inquiry is for the purpose of determining the applicant’s credit worthiness “as

provided in regulations of the Bureau.” And subsection (b)(3) allows creditors to use

empirically-derived credit systems that consider age if such systems are sound “in

accordance with regulations of the Bureau.” Similar language appears throughout

ECOA. See, e.g., 15 U.S.C. §§ 1691(c)(3), 1691(d)(1), 1691c-2(g)(2), 1691d(f), 1691d(g).



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In the face of these explicit and relatively narrow gaps, it is unlikely Congress

somehow intended the agencies to massively change ECOA’s central prohibition

when it left no gap for such a change at all. See Air Transp. Ass’n of Am., Inc. v. U.S.

Dep’t. of Agric., 37 F.4th 667, 673 (D.C. Cir. 2022) (Courts do “read meaning into

statutory silence when Congress has demonstrated that it is perfectly capable of

delegating this authority to [the agency] when it so chooses.”)

      Thus, the statutory context and structure support the District Court’s

conclusion that Congress spoke to the precise issue at hand by barring discrimination

against applicants in section 1691(a). See Brumfield, 735 F.3d at 628 (stating that

words in a statute “must be read in their context and with a view to their place in the

overall statutory scheme”) (cleaned up). A further analysis of section 1691(a) confirms

that conclusion.

             1.     “Applicant” necessarily means an identifiable person
                    who requests credit from a creditor.

      ECOA defines “applicant” as “any person who applies to a creditor directly for

an extension, renewal, or continuation of credit, or applies to a creditor indirectly by

use of an existing credit plan for an amount exceeding a previously established credit

limit.” 15 U.S.C. § 1691a(b). The statute does not define “to apply,” but dictionaries

at the time ECOA was passed define it as the act of requesting something from

someone else. See Regions Bank, 936 F.3d at 1190 91 (listing dictionary definitions

of “apply” and “applicant” in analyzing the meaning of “applicant” in ECOA);

Hawkins, 761 F.3d at 941 (same). “So, taken together, these definitions suggest that

the ordinary meaning of the term ‘applicant’ is one who requests credit to benefit


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himself.” Regions Bank, 936 F.3d at 1191. Section 1691a(b)’s definition of “applicant”

is entirely consistent with this meaning. It lists two ways in which an applicant can

make a request for credit from a creditor: (1) directly, by actually asking for credit;

and, (2) indirectly, through action—specifically, by using an existing credit plan for

more than the previously established limit.

      The necessary conclusion is that an applicant must be an identifiable person

who requests credit from a creditor. See Regions Bank, 936 F.3d at 1192. This is

confirmed by ECOA’s definition of “credit,” which is “the right granted by a creditor

to a debtor to defer payment of debt or to incur debts and defer its payment or to

purchase property or services and defer payment therefor.” 15 U.S.C. § 1691a(d)

(emphasis added). In other words, an applicant is someone who requests the right to

become a future debtor who may defer payment on her debts in order to make

purchases in the present. That there must be an identifiable “someone” who is making

such a request is obvious.

      But adding “prospective” to “applicant” obliterates this limitation. “Prospective

applicant” is not defined in Regulation B, but “prospective” simply means “future.”

Prospective, Black’s Law Dictionary 1386 (rev. 4th ed. 1968) (“Looking forward;

contemplating the future”). A “future applicant” can include anyone who may one day

request credit. That logically includes individuals who are thinking of applying for

credit, but who have not yet done so, as well as individuals who have not considered

seeking credit but may, at some unidentifiable time in the future, do so. As CFPB




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uses the term “prospective applicant,” it can include not only unidentified individuals,

but also individuals who are unidentifiable.

      This case illustrates perfectly the unlimited scope of liability that the anti-

discouragement rule adds to ECOA—and just how far CFPB is willing to push that

liability. The rule states that “[a] creditor shall not make any oral or written

statement, in advertising or otherwise, to applicants or prospective applicants that

would discourage on a prohibited basis a reasonable person from making or pursuing

an application.” 12 C.F.R. § 1002.4(b). “Any statement in advertising or otherwise”

necessarily means any statement by a creditor and would logically include statements

on social media or in any other public or private media, platform, or context. See Am.

Cmpl. ¶¶ 23–24, 29 (noting that the Townstone Financial Show is made available on

social media). Because “prospective” simply means “future,” a statement can be made

to a “prospective applicant” so long as some listener who hears it might one day seek

credit. And because the test for whether a violation occurred is whether a “reasonable

person” would be discouraged, CFPB need not identify any actual prospective

applicants who heard the relevant statements or were discouraged to show that a

creditor violated the rule. See Am. Cmpl. at 39; ECF 89-2 (Ex. B, Aug. 23, 2022 Ltr.

from Defs. to Plaintiff). Finally, because the anti-discouragement rule says a violation

occurs when a reasonable person would be discouraged “from making or pursuing an

application”—which is not limited to those who would be discouraged from making or

pursuing an application from the creditor who made the statement—a creditor violates

the rule if its statement would discourage a reasonable person from seeking credit



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from any creditor. See Am. Cmpl. ¶ 41 (alleging that Townstone’s statements “would

discourage” African Americans, or people from majority African American

neighborhoods or people who considered moving to a majority African American

neighborhood “from seeking credit, including from Townstone”) (emphasis added).

      The result is that a creditor would be liable under the anti-discouragement

rule for making a statement in any context that might be heard by someone who

might consider one day seeking credit, as long as the statement “would discourage on

a prohibited basis” a hypothetical reasonable person from pursuing an application for

credit from anyone. This incredible expansion of liability under ECOA simply cannot

be squared with what Congress said in section 1691(a). See, e.g., Ortiz-Santiago v.

Barr, 924 F.3d 956, 961 (7th Cir. 2019) (Courts interpreting statutes “start with the

uncontroversial proposition that an agency has no power to rewrite the text of a

statute.”); Contender Farms, LLP v. U.S. Dep’t. of Agric., 779 F.3d 258, 272 (5th Cir.

2015) (“Although federal agencies often possess broad authorit[y] … an agency may

not create from whole cloth new liability provisions.”) (cleaned up).

      CFPB all but ignores the three cases most pertinent to the meaning of

applicant in ECOA: Moran Foods, 476 F.3d 436; Regions Bank, 936 F.3d 1184; and

Hawkins, 761 F.3d 937. Each case addressed whether Regulation B could expand the

meaning of applicant to include “guarantor.” Each concluded that it could not,

because, as this Court stated in Moran Foods, “there is nothing ambiguous about

‘applicant’ and no way to confuse an applicant with a guarantor.” 476 F.3d at 441. See

also Regions Bank, 936 F.3d at 1190–91; Hawkins, 761 F.3d at 941. It is just as clear



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that “applicant” cannot mean “prospective applicant.” Indeed, whether “applicant”

can include “guarantor” is a harder question, as a “guarantor” is at least an

identifiable individual who participates in a credit transaction with an applicant. See

Regions Bank, 936 F.3d at 119.

      CFPB claims these cases are distinguishable because the “courts did not

determine the scope of the Bureau’s authority to issue regulations under § 1691b.”

CFPB Br. at 28. But this is a dodge. In all three cases, the parties supporting

Regulation B’s expansion of “applicant” relied on section 1691b to claim Chevron

deference. See Defendants-Appellees’ Br., Moran Foods, 2006 WL 565098, *26;

Defendants-Appellants’ Br., Regions Bank, 2017 WL 3976774, *31–32; Plaintiffs-

Appellants’ Br., Hawkins, 2013 WL 6069373, *20. And, in Regions Bank, the dissent

relied on section 1691b(a) in arguing that the regulation at issue deserved deference.

See 936 F.3d at 1211.

      That the courts did not specifically address section 1691b supports Townstone’s

argument, not CFPB’s. The courts obviously did not think that the grant of

rulemaking authority answered the question at issue. Indeed, if CFPB’s reliance on

the rulemaking provision were a sufficient basis for deference, all three cases would

have been resolved on that issue alone. As the dissent in Region’s Bank argued,

banning discrimination against “guarantors” can easily be said to serve ECOA’s

purpose. See Regions Bank, 936 F.3d at 1217–18 (Rosenbaum, J., dissenting). And as

the concurrence noted in Hawkins, part of the Federal Reserve Board’s reason for

expanding “applicant” to include “guarantor” was to “enhanc[e] protections” under



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ECOA. 761 F.3d at 945. Nevertheless, “[w]hatever might be the salutary effects of the

change in policy, it was not a choice for the Board to make .... Any decision to expand

the civil liability of creditors and to provide a cause of action for guarantors must

come from Congress.” Id.

      In an effort to sidestep the unambiguous meaning of “applicant,” CFPB

contends that “numerous courts have concluded that ECOA’s protections for

‘applicants’ extend to—and thus the term ‘applicants’ includes—those who have not

formally initiated an application.” CFPB Br. at 24–25 (emphasis added). Aside from

the fact that none of the cited cases address the validity of a regulation or whether

“applicant” is ambiguous, the cases all support Townstone’s argument, for they

support the unremarkable conclusion that “applicant” means one who requests credit

from a creditor. The cases all involved private plaintiffs who were clearly seeking

credit from particular creditors. The question in each was one of proof: Did they offer

enough evidence or plead enough facts to show they had, in fact, requested credit?

See Hildebrandt v. Vilsack 102 F.Supp.3d 318, 324–25 (D.D.C. 2015) (noting that

plaintiff had repeatedly asked both for a loan application and for a loan); Sacco v.

Bank of Versailles, No. 2:14-cv-04185, 2014 WL 5343537, at *3 (W.D. Mo. Oct. 20,

2014) (“Given Plaintiffs’ meeting with [a creditor’s representative], the clear purpose

of which was to obtain a home loan, Plaintiffs qualify as applicants under the

ECOA.”); Davis v. Strata Corp., 242 F.Supp.2d 643, 651 (D.N.D. 2003) (denying

summary judgment in part because there were “factual issues in dispute as to

whether Davis was an ‘applicant’ as that term is defined in” ECOA); Cragin v. First



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Fed. Sav. & Loan Ass’n, 498 F.Supp.379, 384 (D. Nev. 1980) (holding that definition

of applicant in 12 C.F.R. § 1002.2 barred plaintiff’s claim because his oral request for

credit did not comply with the creditor’s procedures).

      Unlike those cases, the issue here is not one of proof; i.e., the question does not

involve whether a person seeking credit has followed CFPB’s regulations or a

creditor’s procedures or filed a “formal” request versus an informal one. Rather, the

question here is one of interpretation—whether liability under section 1691(a)

requires an identifiable person who has requested credit at all. The answer under the

anti-discouragement rule is: no. The answer under section 1691(a) is: yes.

      For much the same reason, CFPB’s attempts to read ambiguity into “applicant”

are unavailing. CFPB exclaims that “questions abound. Does the application have to

be written? Should the definition of ‘application’ depend on what the creditor

considers an application?” And so on. CFPB Br. at 24. But none of these questions

alter the irreducible minimum of what an applicant can be: an actual person who

requests credit from a creditor. CFPB’s questions again go to proof—i.e., what facts

add up to a “request”—not to statutory interpretation. The proof needed will vary

from case to case, but that issue does not make “applicant” ambiguous, at least not

for Chevron purposes. See, e.g., John Hancock Mut. Life Ins. Co. v. Harris Tr. & Sav.

Bank, 510 U.S. 86 (1993) (refusing to consider whether the Department of Labor’s

interpretation of ERISA should receive Chevron deference because the agency’s

attempt to read the statutory language “to the extent” to mean “if” “exceeded the

scope of available ambiguity”).



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             2.     The anti-discouragement rule cannot be reconciled with
                    the unambiguous meaning of “discrimination” and
                    “credit transaction.”

      Even though the District Court declined to address whether the anti-

discouragement rule conflicts with other parts of section 1691(a), A011 n.5, it is

appropriate for this Court to consider the entire section, because, when interpreting

a statute, courts “view words not in isolation but in the context of the terms that

surround them.” Commodity Futures Trading Comm’n, 717 F.3d at 550 (cleaned up).

      Recall that section 1691(a) prohibits discrimination against applicants “with

respect to any aspect of a credit transaction.” ECOA does not define “credit

transaction,” but a “transaction,” in the commercial sense, is the “act of transacting

or conducting any business.” Transaction, Black’s Law Dictionary 1668 (rev. 4th ed.

1968). “It may involve selling, leasing, borrowing, mortgaging or lending ... It must

therefore consist of an act or agreement, or several acts or agreements having some

connection with each other, in which more than one person is concerned, and by which

the legal relations of such persons between themselves are altered.” Id. See also

Transaction, Ballentine’s Law Dictionary 1292 (3rd ed. 1969) (“A matter of dealing

between parties, the word implying action, consent, knowledge, or acquiescence on

the part of both of them.”).

      Thus, just as “applicant” in the context of section 1691(a) must be an

identifiable person who requests credit from a creditor, so a “credit transaction”

requires two or more identifiable individuals acting in concert with one another with

the goal of one obtaining credit from the other. This is consistent with CFPB’s own

definition of “credit transaction” in Regulation B, which includes “every aspect of an
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applicant’s dealings with a creditor regarding an application for credit or an existing

extension of credit.” 12 C.F.R. § 1002.2(m) (emphasis added).

      One cannot act in concert with, manage an affair with, negotiate with, or

conduct business with an unknown and unknowable hypothetical individual who may

or may not one day apply for credit. Nor is a “prospective applicant,” as CFPB and

the anti-discouragement rule use the term, part of an “application process.” See CFPB

Br. at 22–23. (claiming that “[t]he anti-discouragement rule shares [ECOA’s] focus

on the application process”). Someone who gazes at a creditor’s advertisement or

listens to its radio broadcast is not participating in an “application process” or

engaged in a “transaction” with a creditor simply because that person may one day

decide to apply for a loan.

      Regulation B’s anti-discouragement rule does similar damage to Congress’s

choice of “discrimination” as the prohibited action under ECOA. ECOA does not

define “discrimination,” but dictionaries define it as “a failure to treat all equally;

favoritism” and conferring “privileges on a class arbitrarily selected from a large

number of persons.” Discrimination, Black’s Law Dictionary 553 (rev. 4th ed. 1968).

CFPB’s regulations define “discrimination against an applicant” similarly as “to treat

an applicant less favorably than other applicants.” 12 C.F.R. § 1002.2(n). Thus, to

discriminate on a prohibited basis means to treat an applicant differently than other

applicants because of the applicant’s race, sex, etc.

      But “discourage” is a far broader term that is much less susceptible of an

objective definition than “discrimination.” “Discrimination” under section 1691(a)



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turns on the actions of the creditor. The test is fact-based and objective. Latimore v.

Citibank Sav. Bank, 151 F.3d 712, 715 (7th Cir. 1998). “Discouragement” under the

rule, by contrast, turns entirely on the subjective reaction of the listener. “Discourage”

means “[t]o lessen the courage of; to dishearten; to depress the spirits of; to deprive

of confidence; to deject.” Discourage, Webster’s New International Dictionary 744

(1961). The types of statements that could cause a listener to become dejected or

disheartened are legion. Limiting relevant listeners to “reasonable persons” and

adding that they must be discouraged “on a prohibited basis” clarifies nothing. What

does it mean to be discouraged “on a prohibited basis”? Must the subject matter of the

statement involve race, sex, etc.? Must the “reasonable person” be a member of a

protected class? The closest one can get to an interpretation of this language is that

the statement must discourage a reasonable person because of race, sex, religion, and

the like. But that is nothing like saying a creditor may not discriminate on a

prohibited basis, which focuses on the creditor’s actions (e.g., treating people

differently based on their race) not the listener’s reaction (i.e., feeling dejected

“because of” race, etc.).

       This case shows just how broadly the anti-discouragement rule sweeps. None

of Townstone’s statements indicate a desire or intention not to do business with

anyone for any reason, let alone because of their race. Indeed, none of the statements

has to do with race at all. The closest is the statement, blurted out by a guest on the

Townstone Financial Show during a discussion of preparing homes for sale, that, in

addition to painting and replacing carpets, owners should “take down the confederate



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flag.” Am. Cmpl. at ¶ 34. Presumably, CFPB’s view is that merely saying “confederate

flag” would discourage a reasonable person on a prohibited basis from seeking credit.

Several of the comments dealt with crime in Chicago, some jokingly. For example, in

one, a Townstone employee wondered why a person would go skydiving when he could

get the same rush from walking through the South Side at night. Id. at ¶ 37. In

another, Mr. Sturner stated that the police were “the only ones between [the South

Side] turning into a real war zone and keeping it where it’s kind of at.” Id. at ¶ 35.

      CFPB claims that Townstone’s statements “disparaged” people from minority

communities. Id. at 38. That is CFPB’s interpretation, and it is false. But CFPB

makes clear that even disparagement is not necessary for a statement to violate the

anti-discouragement rule. In claiming that Townstone violated the rule, CFPB states

in its complaint that “a reasonable prospective applicant would consider the

characteristics of prospective neighborhoods, including the neighborhoods’ safety or

dangerousness, when making decisions about a property or seeking credit.” Id. at

¶ 39. The implication is clear: even true statements about crime in certain

neighborhoods can violate the rule.

      Under these “standards” what would not violate the rule? Are creditors

permitted to talk about crime at all? Education? Homelessness? Welfare? Poverty?

Income distribution? Are they permitted to criticize the Black Lives Matter

movement? Support the police? Criticize the Catholic Church about child abuse

scandals? Support the BDS movement? Criticize the BDS movement? Support

abortion rights? Oppose immigration?



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      Nothing in the anti-discouragement rule requires a creditor’s allegedly

discouraging statements to be about particular neighborhoods or to be connected to

credit or financing in any way or even to be directed to protected groups. But even if

one read such limitations into the rule, that would still cover an incredibly broad

range of subjects, it would bear no similarity to section 1691(a)’s ban on

discrimination, and the standard for violating the rule would still be unknowable in

advance. If the Court needs an example of what true ambiguity looks like, it is on full

display in the anti-discouragement rule.

      CFPB has arrogated to itself the power to censor creditors’ speech. That is

obviously a violation of the First Amendment, as we show in Part III, below. But for

present purposes, the question is whether Congress intended to give such broad and

vague power to the agencies who administer ECOA. The answer is clear: It did not.

To conclude otherwise would introduce “vistas of liability” into ECOA that the

language of the statute simply does not support. See Moran Foods, 476 F.3d at 441.

      B.     Congress did not authorize the implementing agencies to
             rewrite ECOA’s core prohibition and massively expand liability
             under the law.

      Unable to make a credible argument that the anti-discouragement rule can be

squared with the unambiguous terms of section 1691(a), CFPB’s case boils down to

two propositions. First, it claims that Congress explicitly authorized the

implementing agencies to promulgate the anti-discouragement rule through the

rulemaking delegation in section 1691b(a). CFPB Br. at 17–18, 20. Second, it claims

that Congress confirmed the validity of the anti-discouragement rule by adding the

word “discouraged” to a referral provision in section 1691e(g). CFPB Br. at 17–20.
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Through these provisions, CFPB claims, Congress spoke directly to the issue at

hand—Is the anti-discouragement rule a valid interpretation of ECOA?—and

answered with a resounding “yes.”

       But CFPB places far more weight on both sections than they can bear, it

misunderstands the proper analysis under Chevron, and it vastly overstates the

significance of the Supreme Court’s decision in Mourning v. Fam. Publ’ns Serv., Inc.

              1.     Congress’s rulemaking delegation in section 1691b(a)
                     does not expressly authorize the anti-discouragement
                     rule.

       To be entitled to Chevron step two’s reasonableness determination, an agency

must show either ambiguity in the statute or an explicit gap that Congress left for

the agency to fill. See, e.g., City of Arlington, 569 U.S. at 306 (“[F]or Chevron deference

to apply, the agency must have received congressional authority to determine the

particular matter at issue in the particular manner adopted.”) (emphasis added)

(citing United States v. Mead Corp., 533 U.S. 218 (2001)). Because section 1691(a) is

not ambiguous, CFPB is left with option two. But section 1691b(a) does not direct the

agencies to define a term or fill a specific gap. Instead, it is a general rulemaking

provision that directs CFPB to enact regulations that are “are necessary or proper to

effectuate the purposes of [ECOA] [and] prevent circumvention or evasion thereof.”

15 U.S.C. § 1691b(a). To be sure, the provision is written in broad terms, but that is

not uncommon and it does not, alone, satisfy Chevron step one. See, e.g., Chamber of

Com. of U.S. v. N.L.R.B., 721 F.3d 152, 161–62 (4th Cir. 2013) (holding that a

delegation to make rules that are “necessary to carry out” the provisions of a law

insufficient, alone, to satisfy Chevron step one); Contender Farms, 779 F.3d at 273
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(“[A] broad grant of general rulemaking authority does not allow an agency to make

amendments to statutory provisions.”).

      This Court’s decision in Brumfield illustrates the point. There, the question

was whether Title II of the Americans with Disabilities Act covered disability in

employment claims even though Title I already did so. 735 F.3d at 622. According to

a rule issued by the Attorney General, the answer was “yes.” Id. at 625. Despite the

ADA’s broad delegation of rulemaking authority to the Attorney General to

“promulgate regulations … that implement” Title II, this Court focused on whether

the ADA was ambiguous on the question at issue, not on the rulemaking delegation.

Id. at 626–630. Finding no ambiguity, this Court held the rule failed at Chevron step

one. Id. at 626, 630.

      Likewise, in Cook County, Illinois v. Wolf, 962 F.3d 208 (7th Cir. 2020), this

Court addressed whether the Department of Homeland Security’s public charge rule

exceeded its power under the Immigration and Nationality Act. Id. at 214–15. Again,

despite a broad rulemaking delegation that gave the Secretary the power to

“administ[er] and enforc[e]” the Act and “establish such regulations ...; issue such

instructions; and perform such other acts as he deems necessary for carrying out his

authority under” the Act, 8 U.S.C. § 1103(a)(1), (2), this Court focused at Chevron

step one on the text of the act, not on the rulemaking delegation. Id. at 222–26.

Finding the relevant statutory language ambiguous, it proceeded to Chevron step

two, where it concluded the public charge rule was unreasonable. Id. at 227–29.




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      Contrast these cases with those in which courts have held that Congress did

explicitly direct an agency to fill a gap. CFPB cites several. CFPB Br. at 31. For

example, in United States v. O’Hagan, Congress delegated to the SEC the power to

issue rules that “define, and prescribe means reasonably designed to prevent, such

acts and practices as are fraudulent, deceptive, or manipulative”—which were the

acts and practices the law prohibited. 521 U.S. 642, 674 (1997). Similarly, in Rush,

the statute expressly assigned to the agency the authority to interpret the exact part

of the statute at issue. 763 F.3d at 760. Because that constituted an explicit gap that

Congress directed the agency to fill, this Court held “there [was] no need to consider

whether the [statutory] term [was] ambiguous.” Id. See also Buongiorno v. Sullivan,

912 F.2d 504, 509 (D.C. Cir. 1990) (noting explicit delegation allowing the National

Health Service Corps to determine when to “waive[] or suspen[d]” payments under a

scholarship program).

      It is no answer, as CFPB would surely argue, that unlike the provisions in

Brumfield and Wolf, section 1691b(a) gives the implementing agencies authority to

prevent “circumvention or evasion” of ECOA. First, this language is not an explicit

gap-filling provision such as those at issue in O’Hagan, Rush, and Buongiorno, all of

which told the agency to elaborate on a particular statutory term or provision. Indeed,

the distinction between an explicit directive to issue rules on a particular statutory

provision versus a general rulemaking provision is clear from a review of ECOA itself,

as Congress expressly directed CFPB to elaborate on a number of specific parts of the

law. See, e.g., 15 U.S.C. §§ 1691d(f), 1691d(g). Clearly, Congress knew how to direct



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an agency in ECOA “to determine the particular matter at issue.” City of Arlington,

569 U.S. at 306. Second, if a statement that an agency can issue rules to prevent

“evasion or circumvention” can justify the anti-discouragement rule, it could be used

to justify virtually any change to ECOA.

      CFPB cites no authority for the proposition that, under Chevron, a general

rulemaking provision satisfies Chevron step one. Indeed, many cases say the opposite.

See, e.g., United States v. Kahn, 5 F.4th 167, 174 (2d Cir. 2021) (“[A] statute’s general

provision that an administrator may issue such other regulations as he ‘considers

necessary’ does not constitute authorization to issue a regulation that contradicts an

express provision of the statute.”); Allegheny Def. Project v. FERC, 964 F.3d 1, 16

(D.C. Cir. 2020) (same); Bona v. Gonzales, 425 F.3d 663, 670–71 (9th Cir. 2005)

(same).

              2.    The Supreme Court’s decision in Mourning does not
                    support CFPB’s argument.

      CFPB leans heavily on the Supreme Court’s decision in Mourning v. Fam.

Publ’ns Serv., Inc., 411 U.S. 356 (1973), claiming that the case gave the Board, and

now CFPB, the power to “police ‘matter[s] not specifically mentioned in the enabling

legislation’ if the failure to regulate would frustrate ECOA’s purposes or permit

evasion of the statute.” CFPB Br. at 20 (quoting Mourning, 411 U.S. at 374). Thus,

CFPB contends that Mourning directs the Court to leapfrog Chevron step one and

uphold the anti-discouragement rule so long as it is reasonably related to preventing

circumvention. Id. at 29 n.6. This argument fails for two reasons.




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      First, as several courts have recognized, Mourning’s directive to defer to

regulations that are “reasonably related to the purposes of the enabling legislation”

is simply another way of describing Chevron step two. As the Fourth Circuit has

explained, this “guidance [from Mourning] is relevant only once we have determined

that a statute is ambiguous. That is, we are only to defer to an agency’s interpretation

of what is ‘necessary’ once we have progressed to Chevron’s second step.” Chamber of

Commerce, 721 F.3d at 161. See also NY Stock Exch., 962 F.3d. at 554 (same). Two

post-Mourning Supreme Court decisions illustrate this point.

      In Board of Governors of Federal Reserve System v. Dimension Fin. Corp. the

Court struck down a regulation by the Federal Reserve Board that defined “banks”

differently than the statutory definition in the Bank Holding Company Act. 474 U.S.

361, 363 (1986). Despite a rulemaking delegation in the law that “vest[ed] broad

regulatory authority in the Board,” id. at 365, the Court held the regulation invalid

at Chevron step one because the law was unambiguous. Id. at 368, 375. And the Court

specifically rejected the argument that the rulemaking delegation—which, like that

in TILA and ECOA, directed the Board to “issue regulations ‘necessary to enable it to

administer and carry out the purposes of this chapter and prevent evasions

thereof’”—authorized the regulation. Id. at 373 n.6. This provision, the Court stated,

“only permits the Board to police within the boundaries of the Act; it does not permit

the Board to expand its jurisdiction beyond the boundaries established by Congress.”

Id.




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       This language stands in stark contrast to CFPB’s claim that Mourning permits

“the Board (and now the Bureau) to police ‘matter[s] not specifically mentioned’” in

ECOA. CFPB Br. at 25 (emphasis added) (quoting Mourning, 411 U.S. at 374).

Clearly, then, a rulemaking delegation such as ECOA’s is not a one-way ticket to

Chevron step two. See Am. Min. of Cong. v. EPA, 824 F.2d 1177, 1185 (D.C. Cir. 1987)

(stating that “it is difficult, as Dimension Financial taught us, to pour meaning into

a highly specific term by resort to grand purposes” of a statute). Instead, CFPB must

show that Congress left a gap in ECOA for the agency to fill.

       This point is confirmed by Household Credit Services Inc v. Pfennig, in which

the Supreme Court addressed a regulation adopted by the Federal Reserve Board

under TILA, the very same statute at issue in Mourning. 541 U.S. 232 (2004). At

issue was the Board’s regulation excluding over-limit fees from the definition of

finance charge. Id. at 235. Despite TILA’s broad rulemaking delegation, the Court

approached the issue under Chevron’s two-step framework. Id. at 238–39. It upheld

the regulation, but only after concluding that the definition of “finance charge” did

“not explicitly address whether over-limit fees are included” and that Congress had

therefore “left a gap for the agency to fill.” Id. at 239. If CFPB’s position were correct,

the Court in Household would simply have reviewed TILA’s broad rulemaking

delegation and gone directly to Chevron step two.

       Second, CFPB’s reliance on Mourning is misplaced because the regulation at

issue in Mourning was different in kind from the anti-discouragement rule. The “four

installment rule” at issue in Mourning prevented creditors from hiding finance



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charges in transactions that were paid in installments but that did not include any

explicit finance charges. 411 U.S. at 362. Transactions such as these were, in form

and substance, exactly what TILA was designed to cover. Id. at 371. By contrast,

Regulation B’s anti-discouragement provision is a brute rewrite of ECOA’s central

prohibition.

      The Supreme Court’s decision in Ragsdale v. Wolverine World Wide, Inc., 535

U.S. 81 (2002), illustrates this point. There, the Court specifically addressed

Mourning in the context of a regulation interpreting the Family Medical Leave Act.

The FMLA guarantees 12 weeks leave to qualifying employees, but encourages

employers to grant more leave than the statutory minimum. Id. at 84. Wolverine

granted Ragsdale 30 weeks of leave when she fell ill, but under a regulation adopted

by the Secretary of HHS, Wolverine could not count any of that leave toward the

FMLA minimum, because it failed to notify Ragsdale her leave counted as FMLA

leave. Id. At Chevron step one, the Court assumed, without deciding, that Congress

had “spoken to the precise question” of notice.” Id. at 88. At step two, the Court held

that the regulation failed because “it alter[ed] the FMLA’s cause of action in a

fundamental way” and worked “an end run around important limitations of the

statute’s remedial scheme.” Id. at 90 91.

      As a result, “the Government’s reliance upon Mourning … is misplaced.” Id.

at 92. Although the rulemaking delegation in Mourning was broader than that in the

FMLA, “[t]he crucial distinction, however, is that although we referred to the Board’s

regulation as a ‘remedial measure,’ … the disclosure requirement was in fact enforced



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through the statute’s pre-existing remedial scheme and in a manner consistent with

it.” Id. In contrast, the regulation in Ragsdale “enforces the individualized notice

requirement in a way that contradicts and undermines the FMLA's pre-existing

remedial scheme ... . Our previous decisions, Mourning included, do not authorize

agencies to contravene Congress’ will in this manner.” Id. at 92.

      Likewise, here, Regulation B “alters [ECOA’s] cause of action in a fundamental

way”—by expanding it beyond discrimination against applicants in the context of a

credit transaction. It bears no relation to ECOA’s remedial scheme whatsoever, other

than fitting the description of an anti-evasion provision. But, as Ragsdale shows, the

mere fact that an agency intends a regulation to serve the purposes of a law does not

validate it, under Mourning or any other case. Id. at 91 (“Regardless of how serious

the problem an administrative agency seeks to address, however, it may not exercise

its authority in a manner that is inconsistent with the administrative structure that

Congress enacted into law.”) (quotation omitted).

             3.    Congress did not authorize the anti-discouragement rule
                   by adding “discouragement” to ECOA’s referral provision
                   in section 1691e(g).

      CFPB vastly overstates the significance of section 1691e(g). In directing

agencies to refer certain matters for investigation to the Attorney General, Congress

did not implicitly amend ECOA or endorse the anti-discouragement rule. CFPB pours

enormous meaning into one word in the provision—“discouraging”—while ignoring

the rest of the language in the section and the vast differences between the anti-

discouragement rule and section 1691(a). “Congress … does not alter the fundamental

details of a regulatory scheme in vague terms or ancillary provisions—it does not, one
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might say, hide elephants in mouseholes.” Whitman v. Am. Trucking Ass’ns, 531 U.S.

457, 468 (2001). CFPB offers no support for the proposition that Congress hid a

massive expansion of liability under ECOA in a referral provision whose purpose, by

its terms, is to direct agencies to refer matters they believe to be violations of section

1691(a) to the Attorney General.

          A review of the relevant text of section 1691e(g) confirms this. The sentence on

which CFPB relies states that certain agencies with administrative authority under

ECOA, “shall refer [a] matter to the Attorney General whenever the agency has

reason to believe that 1 or more creditors has engaged in a pattern or practice of

discouraging or denying applications for credit in violation of section 1691(a) of this

title.”

          The first thing about this sentence that “leaps out,” to use CFPB’s expression,

is that the provision nowhere refers to “prospective applicants” or suggests that

anything approaching the scope of the anti-discouragement rule is illegal under

ECOA. Instead, the sentence envisions the agencies referring patterns and practices

“in violation of section 1691(a).” The terms of section 1691(a) are specific and

unambiguous. Thus, whatever the phrase “discouraging or denying applications for

credit” means in section 1691e(g), it cannot mean something more than

discrimination against applicants on a prohibited basis in the context of a credit

transaction, because that is what section 1691(a) actually prohibits. See LaBonte, 520

U.S. at 757 (stating that courts should “assume that in drafting legislation, Congress

said what it meant”); Commodity Futures Trading Comm’n, 717 F.3d at 550 (same).



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      CFPB protests that this interpretation of section 1691e(g) “makes little

practical sense,” because Congress would not enact a “provision that applies only to

consumers who are discouraged from applying for credit but apply anyway, and not

to consumers who don’t apply for credit because they are successfully discouraged

from applying.” CFPB Br. at 26.

      But CFPB’s complaint here has nothing to do with the meaning of section

1691e(g), for “avoidance of unhappy consequences” is an inadequate basis for

interpreting a text. Nixon v. Missouri Mun. League, 541 U.S. 125, 141 (2004) (Scalia,

J., concurring in judgment). And, in any event, it is not hard to understand why

Congress would have used the phrase “discouraging or denying applications in

violation of section 1691(a)” in the referral provision, because discouraging or denying

applications can, indeed, be a violation of section 1691(a).

      Recall that the common meaning of “applicant” is one who requests credit. See,

supra, at 14–15. Under that meaning, someone who approaches a creditor and

expresses a desire for credit is “requesting” credit. And if a creditor in that situation

were to rebuff the individual because of their race, sex, or some other prohibited basis,

that would be discrimination against the individual in violation of section 1691(a).

One can call this “discouragement,” but it is discouragement that amounts to

discrimination in violation of section 1691(a). Examples of this type of situation

appear in the cases CFPB cites for the proposition that ECOA applies to applicants

prior to filing a formal application. CFPB Br. at 24–25. But nothing in section 1691(a)




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or the definition of “applicant” in section 1691a(b) suggests that a violation can occur

only if a creditor discriminates against someone who has filed a “formal” application.

      The takeaway is that section 1691e(g) requires referrals to the Attorney

General when an agency believes that creditors are engaging in a pattern or practice

of turning away individuals who are requesting credit because of their race or other

prohibited basis. This is the best reading of the referral provision because it is based

on the actual language that Congress used, and it does not require this Court to

conclude that Congress intended one word in the provision to effect a sea-change in

ECOA. See Ragsdale, 535 U.S. at 96. Indeed, this interpretation accords with the first

sentence of the Federal Reserve Board’s official commentary on the anti-

discouragement rule from 1985. “Generally, the regulation’s protections apply only to

persons who have requested or received an extension of credit.” 50 FR 48018, 48050

(Nov. 20, 1985). And the first example of “practices prohibited” is “[a] statement that

the applicant should not bother to apply, after the applicant states that he is retired.”

Id. Any member of Congress reading this official commentary would be justified in

thinking that the anti-discouragement rule applied to situations such as this. Indeed,

the legislative history CFPB itself cites confirms that the senators who commented

about discouragement had this type of situation in mind. CFPB Br. at 37–38. But

turning away individuals who clearly want to apply for credit is a world away from

prohibiting statements to “prospective applicants” that “would discourage a

reasonable person on a prohibited basis.”




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      ECOA’s legislative history simply does not support CFPB’s arguments. All that

can be gleaned from that history is that Congress decided first to allow, and then to

require, certain kinds of referrals to DOJ to ensure better enforcement of ECOA. See

Equal Credit Opportunity Act Amendments of 1976, Pub. L. No. 94-239, 90 Stat. 251,

§ 706 Civil Liability, 15 U.S.C. 1691(h) (1976); FDIC Improvement Act of 1991, Pub.

L. 102-242, § 223, 105 Stat 2236 (1991).

      Certainly, during the discussions about the 1991 amendments, some Senators

expressed frustration at the lack of enforcement actions under ECOA and some used

the word “discouraged,” see e.g., CFPB Br. at 5–6, 38, but others questioned why the

ECOA amendments were included in the FDIC Improvement Act and thought the

extraneous provisions should be deleted. See S. Rep. 102–167, at *235 (Senator Jake

Garn, former Senate Banking Committee Chairman, stating the ECOA amendments

were “contrary to the needed focus of the legislation and should be deleted”) (emphasis

added); id. at *250–51 (Senator Connie Mack noting that “the bill goes on to add

several new consumer related provisions that have nothing to do with the safety and

soundness of our financial institutions”). But nothing in the legislative history

supports the claim that Congress endorsed the anti-discouragement rule in the 1991

amendments. In any event, courts may not “defer to an agency official’s preferences

because we imagine some ‘hypothetical reasonable legislator’ would have favored that

approach. Our duty is to give effect to the text that 535 actual legislators (plus one

President) enacted into law.” SAS Inst., Inc. v. Iancu, 138 S.Ct. 1348, 1359 (2018).




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      Nor, as CFPB claims, does the fact “Congress never repudiated” the anti-

discouragement rule amount to a silent amendment to ECOA. CFPB Br. at 21. First,

“[l]egislative silence is a poor beacon to follow in construing a statute.” Regions Bank,

936 F.3d at 1197 (cleaned up). Second, no cases prior to 1991 interpret the scope of

the anti-discouragement rule, and the first settlements by DOJ or other agencies

involving allegations that a creditor’s marketing violated ECOA did not occur until

1994—and those settlements alleged violations of both ECOA and FHA. See e.g.,

United States v. Chevy Chase Fed. Sav. Bank, No. 94-1824-JG (D.D.C. Aug. 22, 1994).

And those settlements were criticized for containing allegations that went beyond the

terms of ECOA and FHA. See e.g., Thomas P. Vartanian, Robert H. Ledig and Alisa

Babitza, Chevy Chase Case Sets New Standards For Fair Lending Law Compliance,

13 No. 17 Banking Pol’y Rep. 1, 7–10 (Sept. 19, 1994) (“Although the Chevy Chase

consent decree alleges violations of the FHA and the ECOA, the claims it asserts are

not directly traceable to any specific provisions of those laws when viewed in light of

prior interpretations and precedents”); see also ECF 38 at 6, n.26. The notion that

Congress somehow had the same view of the anti-discouragement rule in 1991 that

was just being developed in 1994 is fanciful.

      To be sure, the phrase “discouraging or denying applications” in section

1691e(g), standing alone, could be interpreted to include more than just

“discrimination” against applicants. But including language that is broader than

“discrimination” makes sense in a provision whose purpose is to ensure that agencies

are referring matters, which might be pattern and practice violations, for



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investigation. In any event, that language does not stand alone. It is necessarily

limited by “in violation of section 1691(a),” and there is no indication anywhere that

Congress intended to change the meaning of that pivotal section. Indeed, in 1991,

Congress knew how to add a provision banning statements of discriminatory intent

in advertising, as it did so in the Fair Housing Act, which was passed in 1968. See

42 U.S.C. § 3604(c).

       The referral provision also answers CFPB’s claim that without the anti-

discouragement rule, creditors will be permitted to advertise for “White Applicants

Only.” But advertising such as this would announce a “practice” of violating section

1691(a) by indicating that the creditor rejects non-white applicants. And the proper

response would be for CFPB to investigate ECOA against that creditor and to refer

the matter to the Attorney General, who would doubtless do the same. Notably, CFPB

referred the Townstone matter to DOJ under section 1691e(g), and DOJ decided not

to pursue it. See A040. 3

       CFPB’s claim that section 1691e(g) is an endorsement of the anti-

discouragement rule has no credible support and contradicts the express language of

that section and the rest of ECOA.




3 In 1996, DOJ provided guidance to the federal bank regulatory agencies on pattern or

practice referrals. Available here:
https://www.justice.gov/sites/default/files/crt/legacy/2014/03/05/regguide.pdf (last accessed
Aug. 14, 2023).
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II.   Regulation B’s anti-discouragement rule is not entitled to deference
      at Chevron step two.

      Even if this Court concludes that Congress did not speak to the precise issue

at hand, the anti-discouragement rule still fails at Chevron step two.

      At Chevron step two, courts consider “whether the agency’s [regulation] is

based on a permissible construction of the statute.” Cook Cnty., 962 F.3d at 226

(cleaned up). “A court may strike down an agency’s interpretation of a law if, for

example, the agency’s reading disregards the statutory context [or] its rule is based

on an unreasonable interpretation of legislative history.” Id. And, consistent with the

constitutional avoidance canon, a court should not defer to an agency’s construction

of a statute that “would raise serious constitutional problems” unless Congress

plainly intended that construction. Solid Waste Agency of N. Cook Cnty. v. U.S. Army

Corps of Eng’rs, 531 U.S. 159, 174 (2001) (cleaned up).

      Importantly, Chevron step two “is a requirement that an agency can fail.”

Kisor, 139 S.Ct. at 2416. Accordingly, CFPB’s claim that this Court can defer to the

anti-discouragement rule if ECOA does not preclude the rule, CFPB Br. at 11, 14, 23,

is wrong. See, e.g., NY Stock Exch., 962 F.3d. at 546 (“Nor does a court presume that

an agency’s promulgation of a rule is permissible because Congress did not expressly

foreclose the possibility.”) (cleaned up). See also Entergy Corp. v. Riverkeeper, Inc.,

556 U.S. 208, 223 (2009) (“[S]tatutory silence, when viewed in context, is best

interpreted as limiting agency discretion.”).




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       A.     The anti-discouragement rule is not a permissible construction
              of ECOA.

       The anti-discouragement rule is not a permissible construction of ECOA

because it is not a “construction” of the statute at all. It is a rewrite of the core liability

provision of ECOA that fundamentally changes the statute Congress passed. But as

this Court and the Supreme Court have held, even under Chevron step two, an agency

does not possess “unfettered discretion” to rewrite the law. Cook Cnty., 962 F.3d at

229. See Ragsdale 535 U.S. at 90–91. Ragsdale and Cook County show why the anti-

discouragement rule cannot survive Chevron step two.

       First, the anti-discouragement rule “is invalid because it alters [ECOA’s] cause

of action in a fundamental way.” Ragsdale, 535 U.S. at 90–91. As discussed, Ragsdale

involved a regulation adopted under the FMLA that prevented employers from

getting FMLA credit for leave granted to employees if they failed to notify the

employee that the leave was FMLA leave. Id. at 84. The Court invalidated the

regulation at Chevron step two because it fundamentally changed FMLA’s cause of

action by relieving employees from having to prove any harm or prejudice from a

violation of FMLA. Id. at 92. Under the statute, “[t]he remedy is tailored to the harm

suffered.” Id. at 89. Under the regulation, that was no longer true. See id. at 90. Thus,

“even if the Secretary were authorized to reconfigure the FMLA’s cause of action,”

“this particular rule would be an unreasonable choice.” Id. at 92.

       The anti-discouragement rule likewise fundamentally alters ECOA’s cause of

action. Under section 1691(a), a creditor is liable only by taking a specific action—

discrimination—against a known individual—an applicant—with whom the creditor


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knows she is dealing in a credit transaction. The anti-discouragement rule changes

this dynamic entirely, imposing liability on creditors simply for making public

statements that, based on the subjective reaction of the listener, “would discourage”

them from seeking credit from anyone. See, supra, at 16–17, 22–25. The creditor does

not even have to know to whom he or she is speaking. It is enough that a statement

is made in a context that a “prospective applicant” could hear it. Indeed, liability can

attach under the provision even if there is no evidence that anyone heard the

statements or was discouraged at all.

       Even if this Court were to conclude that “applicant” is in some sense

ambiguous, the anti-discouragement rule would still fail Chevron step two, for even

where a statute is ambiguous, agencies can only “give authoritative meaning to the

statute within the bounds of that uncertainty.” Cuomo v. Clearing House Ass’n, LLC,

557 U.S. 519, 525 (2009). See also City of Arlington, 569 U.S. at 307 (“[W]here

Congress has established an ambiguous line, the agency can go no further than the

ambiguity will fairly allow.”). Thus, CFPB’s point that that ECOA does not establish

whether an application can be oral or must be in writing is immaterial. CFPB Br. at

22. That does not make “applicant” ambiguous, but even if it did, it would not justify

expanding the concept to unknown “prospective applicants” who have had no contact

with a creditor at all.

       Second, the anti-discouragement rule is an impermissible construction of

ECOA because CFPB’s “interpretation of its statutory authority has no natural

limitation.” Cook Cnty., 962 F.3d at 228–29. Cook County involved a challenge to a



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rule interpreting a provision of the INA that allows deportation of immigrants who

become “public charges.” In the rule, DHS defined as a “public charge” any noncitizen

who receives certain government benefits, no matter how small, “for more than ‘12

months’ in the aggregate in a 36-month period.” Id. at 215. Even though the INA gave

DHS broad discretion, the Court held that the rule still failed at Chevron step two,

because “Congress drew the balance between acceptance of benefits and preference

for self-sufficiency in the statutes.” Id. at 228. But because DHS counted almost any

public assistance against an immigrant, DHS upset that balance. Id. “Our concerns

are heightened by the fact that DHS’s interpretation of its statutory authority has no

natural limitation.” Id. at 228–29. Although DHS set the limit at public assistance

for 12 months out of a 36 month period, “[t]here is nothing in the text of the statute,

as DHS sees it, that would prevent the agency from imposing a zero-tolerance rule

under which the receipt of even a single benefit on one occasion would result in” public

charge status. Id. at 229. “We see no warrant in the Act for this sweeping view,”

because “[t]here is a floor inherent in the words ‘public charge,’ backed up by the

weight of history.” Id.

      Likewise, here, there is no limit in CFPB’s interpretation of its authority to

amend ECOA under the rulemaking delegation. CFPB’s position would allow it to

expand the definition of “applicant” to include guarantors, among other things, or to

adopt a rule banning creditors from relying on income or credit scores, requiring them

to hire loan officers of a particular race or ethnicity, or ensuring that their loan

portfolios are balanced among protected groups based on their representation in the



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community. These, and many other changes CFPB could make, would fit comfortably

within its authority to make rules that prevent circumvention or effectuate ECOA’s

purposes. See 15 U.S.C. § 1691b(a).

      And just as there is a floor inherent in the meaning of public charge, there is a

ceiling in the meaning of “applicant” in ECOA. Regulation B’s anti-discouragement

rule destroys that ceiling and implies that CFPB can change ECOA in virtually any

way it pleases. Even under the deferential standard at Chevron step two, CFPB does

not possess that discretion.

      B.     The anti-discouragement rule raises serious constitutional
             problems.

      It is a cardinal rule of statutory interpretation that a court should not interpret

a statute in a way that potentially violates the constitution when an alternative

interpretation is available. Edward J. DeBartolo Corp. v. Florida Gulf Coast Bldg. &

Constr. Trades Council, 485 U.S. 568, 575 (1988). It follows that an agency may not

interpret a statute to create constitutional problems either. As a result, the Supreme

Court has held that deference to a rule that “would raise serious constitutional

problems” is improper unless Congress has made contrary intent unmistakably clear.

Solid Waste Agency, 531 U.S. at 173 (cleaned up). Importantly, to apply this canon,

the Court need not conclude that the anti-discouragement rule is definitely

unconstitutional. It is enough that doubts be “substantial.” Antonin Scalia & Bryan

Garner, Reading Law: The Interpretation of Legal Texts § 38, at 250 (2012) (citation

omitted).




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       Here, for the reasons stated in the next section, doubts concerning the

constitutionality of the anti-discouragement rule are much more than substantial.

And Congress said nothing in ECOA or the legislative history that even hints it

intended to hand CFPB the power to censor speech.

III.   Regulation B’s anti-discouragement rule violates the First and Fifth
       Amendments.

       Even though the district court did not reach Townstone’s constitutional

arguments, this Court may affirm its judgment on “any basis in the record.” Valencia,

883 F.3d at 967. Thus, if this Court concludes that the anti-discouragement rule is

valid, it should hold the rule unconstitutional.

       The anti-discouragement rule violates the First Amendment for at least four

reasons.

       First, it gives CFPB “unbridled discretion” to decide who may speak and what

they may say. As this Court held in Southworth v. Bd. of Regents of Univ. of Wisconsin

Sys., laws that give officials such authority pose a danger of self-censorship and

viewpoint discrimination. 307 F.3d 566, 578–79 (7th Cir. 2002); See also Shurtleff v.

City of Boston, 142 S.Ct. 1583, 1593 (2022). As a result, such laws violate the First

Amendment unless they contain specific and objective standards. Id. at 589. As noted

earlier, however, violations of the anti-discouragement rule turn entirely on the

subjective views of the listener, which is no standard at all. See id. (stating that a law

may not leave the decision up to the “whim of the administrator”) (cleaned up). The

“reasonable person” language in the rule does not change this conclusion, for it is

impossible for anyone to know what “discourage on a prohibited basis” means. See,


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supra, at 16–17, 22–25. But even an intelligible “reasonable person” standard applied

to the listener would not comply with the First Amendment, because, even to

prosecute true threats, government must prove that the speaker acted recklessly. See

Counterman v. Colorado, 143 S.Ct. 2106, 2117–19 (2023). Finally, the intervention of

a jury would not save the rule, as juries are too likely to make decisions based on

their “dislike of particular expression.” Snyder v. Phelps, 562 U.S. 443, 458 (2011).

      This leads to the second reason the rule violates the First Amendment: CFPB

is enforcing it against Townstone because of Townstone’s views. See id. at 458–59

(setting aside jury verdict holding speaker liable for intentional infliction of emotional

distress as inconsistent with First Amendment). Saying the South Side is a war zone

is a viewpoint. If Townstone had instead called the South Side a “peace-zone,” we

would not be here. Cf. Iancu v. Brunetti, 139 S.Ct. 2294, 2300–01 (2019) (detailing

trademark decisions approving some views but rejecting those “offensive to many

Americans”). The same is true of Townstone’s other comments. Expressing views

CFPB thought complimentary to certain neighborhoods or groups would not have

resulted in a lawsuit. That is classic viewpoint discrimination. Id. at 2299–300.

Townstone disparaged no one, but even if it had, government is not permitted to ban

“disparagement.” See, e.g., Matal v. Tam, 137 S.Ct. 1744, 1765 (2017) (striking down

restriction on registering “disparaging” trademarks); 303 Creative LLC v. Elenis, 143

S.Ct. 2298, 2311–12 (2023) (reviewing the many cases showing that “the First

Amendment protects an individual’s right to speak his mind regardless of whether




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the government considers his speech sensible and well intentioned or deeply

misguided and likely to cause anguish or incalculable grief”) (cleaned up).

      The notion that Townstone’s statements are tantamount to a “White

Applicants Only” sign is “pure fiction.” 303 Creative, 143 S.Ct. at 2319 (rebutting

dissent’s comparison of the speech at issue to a “White Applicants Only” sign). Such

a sign clearly proposes an illegal transaction, by saying the merchant will do business

only with white people. See Pittsburgh Press Co. v. Pittsburgh Comm’n on Hum. Rels.,

413 U.S. 376, 387–89, 391 (1973) (explaining limited exception to First Amendment

for speech that proposes an illegal transaction). That is not what Townstone did,

which is evident even from the selective and self-serving allegations in the complaint.

Indeed, the comments at issue did not propose a transaction at all. Nor does the fact

that they were made as part of the Townstone Financial Show make them commercial

speech. See id. at 384 (“[S]peech is not rendered commercial by the mere fact that it

relates to an advertisement.”); Riley v. Nat’l Fed’n of the Blind of N.C., Inc., 487 U.S.

781, 796 (1988) (stating speech is not considered commercial “when it is inextricably

intertwined with otherwise fully protected speech”). Regardless, viewpoint

discrimination violates the First Amendment whether the speech is commercial or

not. See Sorrell v. IMS Health Inc., 564 U.S. 552, 566 (2011) (“Commercial speech is

no exception” to the viewpoint-discrimination doctrine.); See also Matal, 137 S.Ct. at

1767 (Kennedy, J., concurring) (stating viewpoint discrimination is forbidden

whether speech is commercial or non-commercial).




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      Third, the anti-discouragement rule is facially content-based, because it

singles out speech that would discourage someone because of its subject matter. See

Sorrell, 564 U.S. 565. The fact that the subject matter is race, sex, and other

prohibited bases does not save the rule. The prohibited bases listed in ECOA are not

prohibited subjects. And, of course, there is no such thing as a prohibited subject in

America. See 303 Creative, 143 S.Ct. at 2313 (holding that government may not

compel speech in order to “excis[e] certain ideas or viewpoints from the public

dialogue”) (citation omitted). ECOA prohibits a very specific action—discrimination.

This case involves speech.

      Fourth, the rule is unconstitutionally vague and overbroad under both the

First and Fifth Amendments, because a person of ordinary intelligence cannot know,

in advance, what it prohibits, Penny Saver Publ’ns, Inc. v. Vill. of Hazel Crest, 905

F.2d 150, 155 (7th Cir. 1990); F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239,

253 (2012), and it restricts a “substantial amount of protected speech,” United States

v. Williams, 553 U.S. 285, 292 (2008). Among other reasons, the rule applies to any

statements, not just advertising. See 12 C.F.R. § 1002.4(b).

      The Supreme Court’s decision in 303 Creative puts to rest any doubt about the

anti-discouragement rule’s constitutionality. There, the Court held that Colorado

may not enforce an anti-discrimination law to compel a web designer to say things to

which she objected. 143 S.Ct. at 2309–10, 2321–22. Here, CFPB seeks to prohibit

Townstone from saying things on its radio show and podcast that CFPB believes

would offend certain listeners. 303 Creative forecloses every argument CFPB has



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made and could make in support of the rule. It holds that speech cannot be suppressed

simply because it is expressed in the context of commercial activity. Id. at 2316, 2320.

It holds that restricting a person’s views and ideas is not merely “incidental” to the

regulation of conduct. Id. at 2317–19. And it makes clear that a court should rule a

law that threatens to chill speech unconstitutional even at the pre-enforcement stage.

Id. at 2318.

       At bottom, 303 Creative makes eminently clear, if it were somehow unclear,

that “[t]he framers designed the Free Speech Clause of the First Amendment to

protect the freedom to think as you will and to speak as you think.” Id. at 2310

(cleaned up). Both the anti-discouragement rule and CFPB’s application of it in this

case, violate that right.




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                               CONCLUSION

     For the foregoing reasons, this Court should affirm the District Court’s

judgment.

     DATED: August 14, 2023.

                                           Respectfully submitted,

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                      Certificate of Compliance with
              FRAP Rule 32(A)(7), FRAP Rule 32(G) and CR 32(C)

         The undersigned, counsel of record for the Defendants-Appellees,

Townstone and Barry Sturner, furnishes the following in compliance with F.R.A.P

Rule 32(a)(7):

    I hereby certify that this brief conforms to the rules contained in F.R.A.P

Rule 32(a)(7) for a brief produced with a proportionally spaced font. The length of

this brief is 13,172 words.


      DATED: August 14, 2023.

                                                     /s/ Steven M. Simpson
                                                     STEVEN M. SIMPSON

                                         Attorney for Defendant-Appellees




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                           Certificate of Service


     I hereby certify that on August 14, 2023, I filed the foregoing DEFENDANTS-

APPELLEES’ BRIEF with the Court via CM/ECF. I further certify that all

participants in the case are registered CM/ECF users and that service will be

accomplished by the CM/ECF system:



     DATED: August 14, 2023.


                                                /s/ Steven M. Simpson
                                                STEVEN M. SIMPSON




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                   APPENDIX




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                                                        April 9, 2020

By email only rich@garrishorn.com

Richard Horn
Garris Horn PLLC
360 South Convent Avenue
Tucson, AZ 85701

                       Re: Townstone Financial, Inc.

Dear Mr. Horn:

        As you are aware, the Consumer Financial Protection Bureau (“CFPB”) made a referral
concerning the lending practices of Townstone Financial, Inc., (“Townstone”) to the Department of
Justice (“Department”) pursuant to the Equal Credit Opportunity Act (“ECOA”), 15 U.S.C.
§ 1691e(g). The CFPB found reason to believe that Townstone has engaged in a pattern or practice of
violating the ECOA and its implementing regulation, Regulation B, 12 C.F.R. Part 1002, by
discriminating on the basis of race in credit transactions in its mortgage lending business.

        The Department has completed its review and determined that the circumstances of this matter
do not require enforcement action by the Department at this time. This does not constitute a
determination on the merits of the allegations outlined in the CFPB’s referral to the Department.
Townstone Financial is relieved from the extension of its record-retention policy implemented in
connection with the Department’s review.

                                               Sincerely,

                                        Sameena Shina Majeed
                                               Chief

                              By:                 /s/

                                           Jon M. Seward
                                       Principal Deputy Chief
                                Housing and Civil Enforcement Section

cc:     Patrice Alexander Ficklin
        Assistant Director of Fair Lending
        Consumer Financial Protection Bureau




                                               A040
